  Case 2:05-cr-20017-JWL          Document 293        Filed 05/11/09   Page 1 of 2




                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF KANSAS

                                                  )
UNITED STATES OF AMERICA,                         )
                                                  )
                     Plaintiff,                   )
                                                  )
              v.                                  )        Case No. 05-20017
                                                  )
FIDENCIO VERDIN-GARCIA,                           )
                                                  )
                     Defendant.                   )
                                                  )



                          MEMORANDUM AND ORDER

       On March 30, 2009, Fidencio Verdin-Garcia filed a motion asking this court to

compel his former attorney Theodore J. Lickteig to “promptly release” his case file (Doc.

286). Upon order of the court, Mr. Lickteig filed a response to that request on April 9

(Doc. 288). On April 27, this court issued a Memorandum and Order granting in part

Mr. Verdin-Garcia’s motion (Doc. 289).

       On May 1, this court received a Response (Doc. 291) from Mr. Verdin-Garcia,

which had been drafted after Mr. Lickteig filed his statement but before the court ruled

on the motion. The original Order setting filing deadlines (Doc. 287) did not specify a

time for Mr. Verdin-Garcia to file a reply, but out of an abundance of caution, this court

will treat Mr. Verdin-Garcia’s filing as a motion to reconsider.

       Mr. Verdin-Garcia’s latest filing in large part merely repeats his earlier requests

for the various documents from his criminal case. With respect to memoranda and email
  Case 2:05-cr-20017-JWL        Document 293       Filed 05/11/09    Page 2 of 2




correspondence between Mr. Lickteig and the Government, however, Mr. Verdin-Garcia

asserts that he is entitled to those documents pursuant to the Freedom of Information and

Privacy Act. The court will not entertain arguments raised for the first time in a reply

or a motion to reconsider. Headrick v. Rockwell Int’l Corp., 24 F.3d 1272, 1277-78

(10th Cir. 1994) (holding that the court would not address arguments raised for the first

time in the reply brief); Servants of Paraclete v. Does, 204 F.3d 1005, 1012 (10th

Cir.2000) (holding that a motion to reconsider is not an appropriate vehicle to revisit

issues already addressed or to advance arguments that could have been raised in prior

briefing).

       Mr. Verdin-Garcia has therefore identified no grounds that would cause this court

to reconsider its previous ruling on his motion.



       IT IS THEREFORE ORDERED BY THE COURT that Mr. Verdin-

Garcia’s Response (doc. 291), construed as a motion to reconsider, is denied.



       IT IS SO ORDERED this 11th day of May, 2009.


                                   s/ John W. Lungstrum
                                   John W. Lungstrum
                                   United States District Judge




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